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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ADAM SALERNO,                                 )
                                              )
                        Plaintiff,            )
                                              )
        v.                                    )      Case No. 1:23-cv-02263
                                              )
W.A. IMPORTS, INC.,                           )      Judge John F. Kness
                                              )
                        Defendant.            )

                   DEFENDANT’S MEMORANDUM IN SUPPORT OF
               ITS MOTION TO DISMISS COUNT II OF THE COMPLAINT

        The issue here is whether Plaintiff may maintain a Title VII retaliation claim for not

investigating Plaintiff’s prior discrimination complaint. Because the law is clear that this is not

an adverse employment action, which is a necessary element of a retaliation claim, Count II of

the Complaint should be dismissed.

                                         BACKGROUND

        According to the Complaint, Plaintiff applied for employment but Plaintiff claims that he

was told that he would not be offered the position because he is male. Id. at ¶¶14-15. Plaintiff

claims that he complained that the decision was discriminatory, but that the Company did not

investigate his claim. Id. at ¶¶16, 29-30. According to Plaintiff, “by virtue of the foregoing,

Defendant retaliated against Plaintiff.” Id. at ¶31. Plaintiff then filed this action; Count I alleges

gender discrimination (which is not at issue in this Motion) and Count II alleges retaliation, both

in violation of Title VII.

                                          DISCUSSION

        I.      Legal Standard

        Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, courts must dismiss a
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complaint if the well-pleaded allegations fail “to state a claim for relief that is plausible on its

face.” Justice v. Town of Cicero, 577 F.3d 768, 771 (7th Cir. 2009) (quoting Ashcroft v. Iqbal,

556 U.S. 662 (2009)). To withstand a Rule 12(b)(6) motion, Plaintiff’s factual allegations must

plausibly suggest that he is entitled to relief, “raising that possibility above a ‘speculative level.’”

Tamayo v. Blagojevich, 526 F.3d 1074, 1084 (7th Cir. 2008) (citing Bell Atlantic v. Twombly,

550 U.S. 544, 555 (2007)). “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678. Allegations that amount to nothing more than

“labels and conclusions” or “a formulaic recitation of the elements of a cause of action will not

do.” Twombly, 550 U.S. at 555.

        II.     Count II Does Not Plausibly Allege a Title VII Retaliation Claim

        A. Elements of a Title VII Retaliation Claim

        In order to maintain a Title VII retaliation claim, a plaintiff would have to show, under

the direct method,

        that (1) she engaged in statutorily protected activity, (2) she was subject to an
        adverse employment action, and (3) there was a causal link between the protected
        activity and the employment action. Under the indirect method, Kuhn must first
        demonstrate that (1) she engaged in a statutorily protected activity, (2) she was
        meeting United's legitimate expectations, (3) she suffered an adverse employment
        action, and (4) she was treated less favorably than a similarly situated employee
        who did not engage in the statutorily protected activity. Kuhn v. United Airlines,
        63 F. Supp 3d 796, 801 (N.D. Ill. 2014) (citations omitted, emphasis added).

Obviously, the existence of an adverse employment action is key to a retaliation claim. Thus, it

“suffices to plead a plausible claim when the plaintiff alleges that she was subject to an identified

adverse employment action … for engaging in protected activity.” Rosa v. Bd. of Trustees of the

Univ. of Illinois, No. 18-cv-8477, 2020 U.S. Dist. LEXIS 233266 *13 (N.D. Ill. Dec. 11, 2020).




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       “A materially adverse employment action is one where the plaintiff suffers "a significant

change in employment status." Boss v. Castro, 816 F.3d 910, 917 (7th Cir. 2016). In other words,

“an employer’s action will be actionable … if it would have ‘dissuaded a reasonable worker

from making or supporting a charge of discrimination.’” Whittaker v. Northern Ill. Univ., 424

F.3d 640, 648 (7th Cir. 2005); see also Robertson v. Wis. Dep't of Health Servs., 949 F.3d 371

(7th Cir. 2020). Thus, Title VII “protects an individual not from all retaliation, but from

retaliation that produces an injury or harm.” Outley v. City of Chicago, 354 F. Supp. 3d 847, 869

(N.D. Ill. January 11, 2019), citing Burlington N. and Santa Fe Ry. Co. v. White, 548 U.S. 53, 67

(2006). “Not everything that makes an employee unhappy qualifies as an adverse action for Title

VII.” Rhodes v. IDOT, 359 F.3d 498, 505 (7th Cir. 2004).

       B. Plaintiff’s Retaliation Claim Does Not Satisfy that Standard

       Count II of the Complaint alleges that Defendant did not investigate his claim of

discrimination about not offering him the job. Other than not getting the job (which decision had

already been made), there is no suggestion of any other issues or harm, and the no-investigation

claim simply does not plausibly allege a materially adverse employment action, and without that,

there can be no Title VII retaliation claim. E.g. Rosa, 2020 U.S. Dist. LEXIS 233266 at *33-34

(dismissing retaliation claim because inadequate investigation was not a “materially adverse

action on which a Title VII retaliation claim may rest”).

       The Kuhn case is a good example. The plaintiff there alleged that she complained about

discrimination and the court first noted that:

       the Seventh Circuit has not specifically addressed whether this qualifies as an
       adverse employment action. But the Second and Tenth Circuits have held that
       failure to investigate a complaint, where the protected activity at issue is the
       making of the same complaint, does not constitute an adverse action” …. because
       “a failure to investigate a complaint, unless it leads to demonstrable harm, leaves




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       an employee no worse off than before the complaint was filed." 63 F. Supp. 3d at
       802-2.

In Clemmer v. Ofc of the Chief Judge, No. 06 C 3361, 2008 U.S. Dist. LEXIS 109595 *51 (N.D.

Ill. Dec. 2, 2008), the court dismissed a Title VII retaliation claim, holding, “Clemmer may have

preferred her employer to do more in its investigation, but its failure to conduct an inquiry to her

satisfaction does not constitute an adverse action.” In Daniels, v. UPS, 701 F.3d 620, 640 (10th

Cir. 2012), the court explained that “adopting a contrary rule and finding a failure to investigate

establishes a prima facie case of retaliation would open employers to retaliation claims even

where they failed to investigate because of a good faith belief the complaint was meritless.” See

also Fincher v. Depository Trust & Clearing Corp., 604 F.3d 712, 721 (2d Cir. 2010) (“at least

in a run-of-the-mine case such as this one, an employer’s failure to investigate a complaint of

discrimination cannot be considered an adverse employment action taken in retaliation for the

filing of the same discrimination complaint”).

       The bottom line here is that as plead in Count II of the Complaint, Plaintiff’s retaliation

claim is exactly the situation Daniels warned about. While Plaintiff alleges that he suffered an

adverse employment action (not being hired) because of his gender, he has not alleged a

materially adverse employment action arising from his claim that there was no investigation.

There are no special circumstances alleged that would make this claim plausible, and allowing

this claim would mean that in every discrimination claim there would also be an independent

retaliation claim unless the employer investigated the discrimination claim to the plaintiff’s

satisfaction, and, presumably, also resolved the discrimination claim to the plaintiff’s

satisfaction. That simply is not, and cannot be the law. Accordingly, Count II of the Complaint

should be dismissed.

       WHEREFORE, W.A. Imports, Inc. respectfully requests that this Honorable Court enter



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an order dismissing Count II of the Complaint and granting such further and additional relief as

the Court deems just and proper.

Dated: May 22, 2023                                W.A. IMPORTS, INC.

                                                   By:   /s/Jeffrey S. Fowler
                                                         One of Its Attorneys

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                               CERTIFICATE OF SERVICE

       I, Jeffrey S. Fowler, an attorney, hereby certifies that on May 22, 2023, I caused a copy

of the foregoing Memorandum in Support of Defendant’s Motion to Dismiss Count II of the

Complaint, in the above-captioned matter to be filed with the Clerk of the District Court and

served on the parties of record, including those listed below, by operation of the Court’s

CM/ECF electronic filing system, addressed to:

                                    Alexander J. Taylor
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                                                     /s/ Jeffrey S. Fowler
                                                     Jeffrey S. Fowler




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